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8                         UNITED STATES DISTRICT COURT

9                        EASTERN DISTRICT OF CALIFORNIA

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11   LISA MARIE CLOSE,                    CIV. NO. 2:17-1313 WBS DB
12                 Plaintiff,
13        v.                              MEMORANDUM AND ORDER RE: MOTION
                                          TO DISMISS
14   CITY OF VACAVILLE and STUART
     K. TAN,
15
                   Defendants.
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18              Plaintiff Lisa Maria Close initiated this action
19   against the City of Vacaville (“the City”) and Officer Stuart K.
20   Tan (“Officer Tan”)(collectively “defendants”) for violation of
21   her civil rights under 42 U.S.C. § 1983 and state law arising out
22   of her arrest in 2016.      Presently before the court is defendants’
23   Motion to Dismiss plaintiff’s Monell claim against the City and
24   claim for injunctive relief.      (Docket No. 6.)
25   I.   Factual and Procedural Background
26              On June 2, 2016, plaintiff attended a doctor’s
27   appointment in which she disagreed with her doctor about her
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1    treatment.     (Compl. ¶ 10 (Docket No. 1).)     At one point plaintiff

2    walked out of the exam room and had a discussion with hospital

3    personnel.    (Id.)      Shortly thereafter, plaintiff returned to the

4    exam room to collect her belongings.         (Id.)   A hospital security

5    guard entered the exam room at that point and informed plaintiff

6    that he was going to escort her off the property and that a

7    police officer was on the way.       (Id.)    Plaintiff alleges that

8    prior to this she had not been asked to leave the hospital and

9    did not think there was any need for a security guard or police

10   officer to escort her from the property.        (Id.)   Plaintiff then

11   used her cellphone to call a hospital supervisor and was placed

12   on hold.     (Id.)

13              While plaintiff was on hold, Officer Tan, a City of

14   Vacaville police officer, arrived at the hospital and informed

15   plaintiff that she was trespassing and needed to leave.             (Id. ¶

16   11.)    Plaintiff informed Officer Tan that she was on the phone

17   trying to discuss the incident with a hospital supervisor, but

18   Officer Tan ignored plaintiff and grabbed her arm in an attempt

19   to drag her.     (Id.)    Officer Tan grabbed plaintiff’s cell phone

20   from her hand, causing it to fly to the other side of the room.
21   (Id.)   Plaintiff then informed Officer Tan that she suffers from

22   Asperger’s Syndrome, but he did not respond to her statement.

23   (Id.)   Officer Tan then “bear hugged” plaintiff, causing her to

24   temporarily lose consciousness and fall to the floor.          (Id.)

25   When plaintiff regained consciousness and stood up, Officer Tan

26   again grabbed plaintiff and knocked her to the ground.             Officer
27   Tan also twisted plaintiff’s arm, causing her severe pain. (Id.)

28   Officer Tan then handcuffed plaintiff, escorted her off the
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1    property, and transported her to jail.         (Id. ¶ 12.)

2                At some point thereafter, plaintiff was transported

3    from jail to a medical facility after complaining of pain in her

4    arm.    (Id.)   According to plaintiff, hospital staff informed her

5    that her arm was broken.       (Id.)    Plaintiff was released from the

6    hospital and given a notice to appear in Sacramento County

7    Superior Court.     (Id. ¶ 13.)       However, as of the date the

8    complaint was filed, the District Attorney’s Office has not filed

9    any criminal charges against plaintiff.         (Id.)

10               On June 26, 2017, plaintiff filed this complaint

11   alleging five causes of action against Officer Tan and one

12   against the City.       The complaint requests both money damages and

13   injunctive relief.

14   II.    Legal Standard

15               On a Rule 12(b)(6) motion, the inquiry before the court

16   is whether, accepting the allegations in the complaint as true

17   and drawing all reasonable inferences in the plaintiff’s favor,

18   the plaintiff has stated a claim to relief that is plausible on

19   its face.    See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).           “The

20   plausibility standard is not akin to a ‘probability requirement,’
21   but it asks for more than a sheer possibility that a defendant

22   has acted unlawfully.”       Id.     “A claim has facial plausibility

23   when the plaintiff pleads factual content that allows the court

24   to draw the reasonable inference that the defendant is liable for

25   the misconduct alleged.”       Id.     Under this standard, “a well-

26   pleaded complaint may proceed even if it strikes a savvy judge
27   that actual proof of those facts is improbable.”          Bell Atl. Corp.

28   v. Twombly, 550 U.S. 544, 556 (2007).
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1    III. Discussion

2         A.    Monell Claim Against the City

3               A municipality is subject to liability under § 1983

4    only when a violation of a federally protected right can be

5    attributed to (1) an express municipal policy (Monell v. New York

6    City Dep’t of Soc. Servs., 436 U.S. 648, 690 (1978)); (2) a

7    “widespread practice that, although not authorized by written law

8    or express municipal policy, is so permanent and well settled as

9    to constitute a custom or usage with the force of law” (City of

10   St. Louis v. Praprotnik, 485 U.S. 112, 127 (1998)); (3) the

11   decision of a person with “final policymaking authority” (Id. at

12   123); or (4) inadequate training that is deliberately indifferent

13   to an individual’s constitutional rights (City of Canton v.

14   Harris, 489 U.S. 378 (1989)).

15              1.     Policy, Pattern, or Custom

16              “[A] municipality can be liable under § 1983 only where

17   its policies are the moving force behind the constitutional

18   violation.”     Harris, 489 U.S. at 389.    Thus, plaintiff must

19   demonstrate a sufficient causal connection between the

20   enforcement of the supposed municipal policy or practice and the
21   violation of her federally protected right.        Id.; Connick v.

22   Thompson, 563 U.S. 51, 60 (2011).       Where, as here, a plaintiff

23   claims that the municipality has not directly inflicted an

24   injury, but nonetheless has caused an employee to do so, rigorous

25   standards of culpability and causation must be applied to ensure

26   that the municipality is not held liable solely for the actions
27   of its employee.    Bd. of the Cty. Comm’rs of Bryan Cty. V. Brown,

28   520 U.S. 397, 404 (1997).
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1               To show municipality liability based on a practice or

2    custom, the relevant practice must be a “deliberate choice to

3    follow a course of action . . . made from among various

4    alternatives by the official or officials responsible for

5    establishing final policy with respect to the subject matter in

6    question.”   Castro v. County. of Los Angeles, 833 F.3d 1060, 1075

7    (9th Cir. 2016), citing Pembaur v. City of Cincinnati, 475 U.S.

8    469, 483 (1986) (plurality opinion).       Unless the policy itself is

9    unconstitutional, or an authorized policymaker committed the

10   unconstitutional act, “liability for improper custom may not be

11   predicated on isolated or sporadic incidents; it must be founded

12   on practices of sufficient duration, frequency and consistency

13   that the conduct has become a traditional method of carrying out

14   policy.”   Trevino v. Gates, 99 F.3d 911, 918 (9th Cir. 1996),

15   holding modified by Navarro v. Block, 250 F.3d 729 (9th Cir.

16   2001).   A custom or practice can be inferred from widespread

17   practices or evidence of repeated constitutional violations for

18   which the errant municipal officers were not discharged or

19   reprimanded.   Hunter v. County of Sacramento, 652 F.3d 1225 at

20   1233-34 (9th Cir. 2011).
21              Here, plaintiff alleges that the “Chief of Police and

22   the Professional Standards unit or the Vacaville Police

23   Department had final policy making authority . . . concerning the

24   acts of the police officer.”      (Compl. ¶ 28.)    However, the

25   complaint does not allege any facts indicating that there was any

26   city custom, policy, or practice.       There are no facts suggesting
27   that there was a practice or custom beyond the single incident at

28   issue in this case, and plaintiff does not identify any explicit
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1    policy.    Accordingly, plaintiff’s municipal liability claim based

2    on a pattern, policy, or custom must be dismissed.

3                2.    Ratification

4                “To show ratification, a plaintiff must prove that the

5    authorized policymakers approved a subordinate’s decision and the

6    basis for it.”     Christie v. Iopa, 176 F.3d 1231, 1239 (9th Cir.

7    1999).     Municipal policymakers must make a conscious,

8    affirmative, deliberate choice to endorse a subordinate’s

9    decision and the reasoning behind it, and “simply going along

10   with the discretionary decisions made by one’s subordinates . . .

11   is not a delegation to them of authority to make policy.”

12   Praprotnik, 485 U.S. at 128-30.      Further, the Ninth Circuit has

13   indicated that plaintiffs must show that municipal policymakers

14   had knowledge of the unconstitutional conduct their subordinates

15   engaged in before the unconstitutional violations ceased.

16   Christie, 176 F. 3d at 1239-40.

17                 Here, plaintiff does not indicate any facts

18   suggesting that the City or any official policymaker knew of any

19   unconstitutional conduct by city officers and approved of such

20   conduct.     The complaint merely states that the Chief of Police
21   and the Professional Standards unit or the Vacaville Police

22   Department had final policy making authority.        (Compl. ¶ 28.)

23   Plaintiff later contends that the City “was on notice of Officer

24   Tan’s constitutional violations when [plaintiff] filed her tort

25   claim.”     (Pl.’s Opp’n to Defs.’ Mot. to Dismiss at 2.)          However,

26   this argument, even if accepted as true, does not indicate that
27   the City, or any official policymaker, had any knowledge

28   whatsoever of the alleged unconstitutional conduct before it was
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1    completed.    Accordingly, plaintiff has failed to state a claim

2    based on the theory of ratification.

3                 3.   Inadequate Training

4                 A municipality can be held liable based on a failure to

5    train theory “only where the failure to train amounts to

6    deliberate indifference to the rights of persons with whom the

7    police come into contract.”       City of Canton v. Harris, 489 U.S.

8    378, 388 (1989).     To meet this standard, “the need for more or

9    different training [must be] so obvious, and the inadequacy so

10   likely to result in the violation of constitutional rights, that

11   the policymakers of the city can reasonably be said to have been

12   deliberately indifferent to the need.”       Id. at 389.

13   “[D]eliberate indifference is a stringent standard of fault,

14   requiring proof that a municipal actor disregarded a known or

15   obvious consequence of his action.”       Connick, 563 U.S. at 61.

16                Here, the complaint does not explain what the City’s

17   training consisted of, whether there were prior similar acts or

18   any other indications that there was a need for more or different

19   training, or whether the alleged inadequacy was likely to result

20   in constitutional violations.      Because the complaint does not
21   plead these facts, which are necessary to meet the high standard

22   for deliberate indifference, it is insufficient to state a valid

23   § 1983 claim against the City under the theory of inadequate

24   training.

25        B.      Injunctive Relief1

26                When determining what remedies are available for the
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               In her Opposition plaintiff did not address defendants’
28   arguments related to her claim for injunctive relief.
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1    violation of a federal right, damages are the default and

2    equitable relief is the exception.       See, e.g., Franklin v.

3    Gwinnet Cty. Pub. Sch., 503 U.S. 60, 75-76 (1992) (“[I]t is

4    axiomatic that a court should determine the adequacy of a remedy

5    in law before resorting to equitable relief.”)         “[T]he principles

6    of equity . . . militate heavily against the grant of an

7    injunction except in the most extraordinary circumstances.”

8    Hodgers-Durgin v. De La Vina, 199 F.3d 1037, 1042 (9th Cir.

9    1999).   When a less drastic remedy is sufficient to redress a

10   claimant’s injury, then no recourse to the additional and

11   extraordinary relief of an injunction is warranted. Monsanto Co.

12   v. Geertson Seed Farms, 561 U.S. 139 (2010).

13              To have standing to assert an equitable relief claim,

14   plaintiff must show “the likelihood of substantial and

15   irreparable injury and the inadequacy of remedies at law.”         City

16   of Los Angeles v. Lyons, 461 U.S. 95, 111 (1983).         Here,

17   plaintiff’s complaint has failed to do that.        In fact, all of

18   plaintiff’s allegations relate only to one particular previous

19   incident, and she has not demonstrated any likelihood or threat

20   of future harm, which is necessary to warrant equitable relief.
21   Plaintiff also fails to allege why money damages are inadequate.

22              Additionally, “a federal court should not intervene to

23   establish the basis for future intervention that would be so

24   intrusive and unworkable.”      Hodgers-Durgin, 199 F.3d at 1042.

25   Here, the order sought by plaintiff presumably seeks

26   implementation of particular police policies and procedures,
27   which would require the Court’s future intervention in a manner

28   that could likely become “intrusive and unworkable.”          See id.
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1    Accordingly, because plaintiff has failed to establish standing

2    to assert claims for equitable relief or to state any claim upon

3    which injunctive relief may be granted, her prayer for an

4    injunction must be dismissed.

5               IT IS THEREFORE ORDERED that defendants’ Motion to

6    Dismiss (Docket No. 6) be, and the same hereby is, GRANTED.

7    Plaintiff’s claim for injunctive relief and claim against the

8    City are dismissed.    All claims against Officer Tan remain.

9    Plaintiff is given twenty days from the date this Order is signed

10   to file a Second Amended Complaint, if she can do so consistent

11   with this Order.

12   Dated:   December 19, 2017

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